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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
                                                              :
BUZZFEED, INC.,                                               :
111 East 18th Street, 13th Floor                              :
New York, NY 10003                                            :
                                                              :   Case No. 19-cv-1337
                                    Plaintiff,                :
                                                              :
                  - - against - -                             :   COMPLAINT
                                                              :
U.S. DEPARTMENT OF THE AIR FORCE,                             :
1670 Air Force, Pentagon                                      :
Washington, DC 20330-1670                                     :
                                                              :
                                    Defendant.                :
                                                              :
--------------------------------------------------------------X

        1.       Plaintiff BUZZFEED, INC. files this Freedom of Information Act suit to require

Defendant U.S. DEPARTMENT OF THE AIR FORCE to release copies of various documents

relating to tours of Air Force One.

                                                   PARTIES

        2.       Plaintiff BUZZFEED, INC. (“BUZZFEED”) is a Delaware corporation with its

principal place of business in New York, NY.

        3.       Defendant U.S. DEPARTMENT OF THE AIR FORCE (“AIR FORCE”) is a

federal agency subject to the Freedom of Information Act.

                                     JURISDICTION AND VENUE

        4.       This case is brought under 5 U.S.C. § 552 and presents a federal question

conferring jurisdiction on this Court.

        5.       Venue is proper under 5 U.S.C. § 552(a)(4)(B).

                                              BACKGROUND

        6.       AIR FORCE facilitates tours of Air Force One.
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         7.     Two tours of Air Force One were scheduled at Palm Beach International on Feb.

18, 2017.

         8.     Members of The Mar-a-Lago Club were invited to attend at least one of these

tours.

         9.     At least fourteen individuals were scheduled to take those two tours.

         10.    Eight were members of The Mar-a-Lago Club affiliated with the Arrigo

Automotive Group.

         11.    On July 9, 2018, BUZZFEED reporters Tarini Parti and Jeremy Singer-Vine

reported those facts and explained that tours on Air Force One “raise[d] more questions about the

blurry line between Trump’s administration and his family’s private businesses.” See Tarini

Parti & Jeremy Singer-Vine, Some Members Of Trump’s Exclusive Clubs Appear To Have Been

Invited To An Air Force One Tour, BuzzFeed News (July 9, 2018), https://bit.ly/2D4Z7Qq.

         12.    On August 1, 2018, Senators Elizabeth Warren, Thomas R. Carper, Sheldon

Whitehouse, and Richard Blumenthal wrote to the Inspectors General of the Department of

Defense and AIR FORCE requesting that they conduct a “review of when and how individuals

are provided tours of and access to Air Force One, and of which individuals have been provided

tours of or access to the plane since January 20, 2017.” See Letter from Elizabeth Warren,

Thomas R. Carper, Sheldon Whitehouse, & Richard Blumenthal to Glenn A. Fine, Acting

Inspector General, U.S. Department of Defense & Lt. Gen. Stayce D. Harris, Inspector General

of Air Force, Office of the Secretary of the Air Force (Aug. 1, 2018); see also Tarini Parti &

Jeremy Singer-Vine, Democratic Senators Want An Investigation Into Trump’s Air Force One

Tours, BuzzFeed News (Aug. 2, 2018), https://bit.ly/2OIjDLo.




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       13.        The Senators further observed that, “[i]f true, these reports could mean that the

President or his family have used government property for private gain — giving tours of Air

Force One as a perk for club membership — or that some citizens have potentially been able to

buy access to Air Force One via their personal payments to the President’s private club.”

                                            REQUEST #1

       14.        On November 16, 2017, BUZZFEED requested from AIR FORCE “[a]ll

spreadsheets, PDFs, and other documents containing lists of civilians invited or scheduled to

partake in tours of Air Force One between Jan. 20, 2017 and the date on which the search for

these records is completed.”

       15.        A true and correct copy of that request is annexed hereto as Exhibit A.

       16.        On November 27, 2017, AIR FORCE acknowledged that request and assigned it

control number 2018-00661-F.

       17.        A true and correct copy of that acknowledgment is annexed hereto as Exhibit B.

       18.        On June 28, 2018, AIR FORCE sent BUZZFEED correspondence indicating that

it “reviewed 62 pages of which 62 are partially releasable” and provided the redacted records to

BUZZFEED.

       19.        A true and correct copy of that correspondence without attachments is annexed

hereto as Exhibit C.

       20.        On July 20, 2018, BUZZFEED appealed the partial denial to the requested

records.

       21.        A true and correct copy of that correspondence is annexed hereto as Exhibit D.

       22.        As of the date of this Complaint, BUZZFEED has yet to receive a determination

on its appeal.




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       23.     Because AIR FORCE has failed to adhere to certain statutory mandates regarding

timeliness in responding to the appeal, BUZZFEED is deemed by statute to have fulfilled the

administrative exhaustion requirement.

                                           REQUEST #2

       24.     On November 13, 2018, BUZZFEED requested from AIR FORCE “all records

inviting individuals to participate in tours or visits of Air Force One.”

       25.     A true and correct copy of that request is annexed hereto as Exhibit E.

       26.     On November 14, 2018, AIR FORCE acknowledged that request and assigned it

control number 2019-00778-F.

       27.     A true and correct copy of that acknowledgment is annexed hereto as Exhibit F.

       28.     As of the date of this Complaint, BUZZFEED has not received any records

responsive to its request.

       29.     Because AIR FORCE has failed to adhere to certain statutory mandates regarding

timeliness in responding to the request, BUZZFEED is deemed by statute to have fulfilled the

administrative exhaustion requirement.

                                           REQUEST #3

       30.     On November 13, 2018, BUZZFEED requested from AIR FORCE “all records

that document any aspect of the procedures pertaining to Air Force One tours.”

       31.     A true and correct copy of that request is annexed hereto as Exhibit G.

       32.     On November 15, 2018, AIR FORCE acknowledged that request and assigned it

control number 2019-00784-F.

       33.     A true and correct copy of that acknowledgment is annexed hereto as Exhibit H.

       34.     As of the date of this Complaint, BUZZFEED has not received any records

responsive to its request.


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       35.    Because AIR FORCE has failed to adhere to certain statutory mandates regarding

timeliness in responding to the request, BUZZFEED is deemed by statute to have fulfilled the

administrative exhaustion requirement.

                            COUNT I – VIOLATION OF FOIA
                                    REQUEST #1

       36.    The above paragraphs are incorporated herein.

       37.    AIR FORCE is an agency subject to FOIA.

       38.    BUZZFEED made a FOIA request to AIR FORCE for agency records of AIR

FORCE.

       39.    AIR FORCE has withheld portions of the requested records not subject to an

Exemption.

                            COUNT II – VIOLATION OF FOIA
                                     REQUEST #2

       40.    The above paragraphs are incorporated herein.

       41.    AIR FORCE is an agency subject to FOIA.

       42.    BUZZFEED made a FOIA request to AIR FORCE for agency records of AIR

FORCE.

       43.    AIR FORCE has failed to provide a determination with regard to the request.

       44.    AIR FORCE has failed to produce the requested records that are not subject to an

Exemption.

                           COUNT III – VIOLATION OF FOIA
                                    REQUEST #3

       45.    The above paragraphs are incorporated herein.

       46.    AIR FORCE is an agency subject to FOIA.




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      47.       BUZZFEED made a FOIA request to AIR FORCE for agency records of AIR

FORCE.

      48.       AIR FORCE has failed to provide a determination with regard to the request.

      49.       AIR FORCE has failed to produce the requested records that are not subject to an

Exemption.

WHEREFORE, BUZZFEED asks the Court to:

          i.    Order AIR FORCE to conduct a reasonable search for records;

         ii.    Produce all non-exempt requested records;

       iii.     Award BUZZFEED attorney fees and costs; and

       iv.      Enter any other relief the Court deems appropriate.


DATED: February 12, 2019                              Respectfully Submitted,

                                                      BUZZFEED, INC.


                                         By:          s/ Nabiha Syed

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